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Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA )
)
vs. ) Criminal Case No.: 17'Cr'201'2(ABJ)
)
)
RICHARD W. GATES III,
Defendant § F I L E D
FEB 23 2018
C|erk, U.S. District & Bankruptcy
WAIVER OF INDICTMENT Courts for the District of Co|umbla
I, RICHARD W- GATES HI> , the above-named defendant, Who is accused of

 

violating 18 U.S.C. §§ 371 and 1001(a)(2)

being advised of the nature of thf ch rge(s), the proposed information, and of my rights, hereby
ai

the proceeding may be by information rather than by indictment

Defe H/I)C
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Counsel for Defendant

\% prosecution by indictment and consent that

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Waive in open court on 2-

 

 

 

Before: v Date: 2 i/L;I] ig
Hon. Amy[li_"»emén Jackson i

United States District Judge

